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                      EXHIBIT A
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                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA
                               WESTERN DIVISION



           UNITED STATES OF              )
           AMERICA, the States of        )
           CALIFORNIA, COLORADO,         )
           CONNECTICUT, DELAWARE,        )   Case No. 10-cv-03165 GHK
           FLORIDA, GEORGIA,             )   (SSx)
           HAWAII, ILLINOIS,             )
           INDIANA, LOUISIANA,           )   Assigned to: Honorable
           MARYLAND,                     )   George H. King
           MASSACHUSETTS,                )
           MICHIGAN, MINNESOTA,          )
           MONTANA, NEVADA, NEW          )
           HAMPSHIRE, NEW JERSEY,        )
           NEW MEXICO, NEW YORK,         )
           NORTH CAROLINA,               )
           OKLAHOMA, RHODE               )
           ISLAND, TENNESSEE,            )
           TEXAS, VIRGINIA,              )
           WASHINGTON, WISCONSIN,        )
           the DISTRICT OF               )
           COLUMBIA, and the CITY        )
           OF CHICAGO,                   )
              Plaintiffs,                )
                                         )
              Ex rel.                    )
                                         )
           BEVERLY BROWN,                )
              Plaintiff-Relator,         )
                                         )
           VS.                           )
                                         )
           CELGENE CORPORATION,          )
              Defendant.                 )



          ******************************************************
                       ORAL/VIDEOTAPED DEPOSITION OF

                             STEPHEN Z. FADEM, M.D.

                                NOVEMBER 3, 2015

          ******************************************************



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     1          Q.      And you said that your -- the nature of

     2    your practice was nephrology and internal medicine;

     3    is that right?

     4          A.      Correct.

     5          Q.      Can you explain to me each of those

     6    practices?    So what does the practice of internal

     7    medicine for you entail and what does the nephrology

     8    practice entail?

     9          A.      I'm a board-certified internist, and as

    10    an internist, I'm -- I have my specialty in taking

    11    care of patients with medical diseases, internal

    12    medicine diseases, which encompasses oncology,

    13    cardiology, gastroenterology, rheumatology,

    14    hematology, and -- but then I've -- beyond that,

    15    I've become specialized in nephrology, and I did a

    16    two-year fellowship program in kidney diseases where

    17    I learned about the kidney and diseases of the

    18    kidney and kidney transplantation and patients

    19    with -- with complex problems that are related to

    20    acid base and electrolyte disorders and patients who

    21    required dialysis, patients who had hypertension,

    22    had diabetes with secondary kidney disease.

    23                       And of course in my scope of work as

    24    a nephrologist, I see a lot of patients who have an

    25    underlying malignancy.       And so I still see patients

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     1    who have a variety of internal medicine problems.             I

     2    see a lot of patients with cardiology diseases --

     3    cardiovascular diseases, I should have said.          I see

     4    a lot of patients with cerebrovascular diseases, a

     5    lot who have endocrine disorders and rheumatologic

     6    disorders.     And so that's what I do.

     7          Q.       For the patients who have underlying

     8    malignancies, are you treating them for kidney

     9    dysfunction as a result of those malignancies?

    10          A.       Yes, I'm either -- as a result or

    11    concomitant.     Many of the patients that I have who

    12    already have kidney disease develop a malignancy.

    13    And, for example, a patient with chronic kidney

    14    disease may develop myeloma.       And so I may have to

    15    refer that patient to a friend of mine and -- who's

    16    an oncologist, and we might have to put that patient

    17    on medication for that myeloma.

    18          Q.       Do you treat cancer as part of your

    19    practice?

    20          A.       Well, I'm -- I mean, as an internist, I

    21    could; but because of where I live, I generally

    22    refer the patient to somebody who not only has a

    23    specialty in oncology but who has a subspecialty in

    24    the type of cancer that the patient has.

    25                       I'm within walking distance of MD

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     1    Anderson hospital.       So if I have a patient who

     2    develops, say, a osteosarcoma, I'll refer that

     3    patient to the oncologist who has a

     4    specialty -- subspecialty and who is a special

     5    interest just in osteosarcoma.       Or years ago, if I

     6    had a patient who had myeloma, I would refer that

     7    patient to Ray Alexanian or -- because he's the

     8    doctor that I -- I worked with in the past who I

     9    know has got an expertise in myeloma.

    10                         And so because of where I live, I

    11    have the luxury of being able to refer patients to

    12    super subspecialists.

    13          Q.       Are you board certified in oncology?

    14          A.       No.

    15          Q.       Are you board certified in hematology?

    16          A.       No.

    17          Q.       What is the nature of your work as the

    18    medical director for the Houston Kidney Center

    19    integrated service network?

    20          A.       Well, that became DaVita.      You familiar

    21    with DaVita?

    22          Q.       I'm familiar with DaVita.

    23          A.       Okay.    DaVita is a dialysis company that

    24    took over the company Total Renal Care.         Total Renal

    25    Care acquired my dialysis units, and then they

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     1          Q.      What are the most common drugs that you

     2    prescribe?

     3          A.      You're going to love this answer.

     4    Erythropoietin.

     5          Q.      What other drugs, if you're going to

     6    name the top five drugs?

     7          A.      Well, as a nephrologist in -- in the

     8    dialysis unit doxercalciferol, or precalciferol,

     9    iron compounds and erythropoiesis stimulating

    10    agents.

    11                       In my office practice, the most

    12    common drugs that I prescribe are drugs to try to

    13    prevent kidney disease, and that's really where

    14    my -- my real focus is.

    15                       I don't have a large clinic, and

    16    it's not the major job that I have.        Luckily my kids

    17    are grown and -- and I've just got grandkids that I

    18    can see on the weekends, and so most of what I do --

    19    like I said, I'm a work alcoholic; I'm the

    20    exception, not the rule.      But what I do is, I deal

    21    with patients who have a lot of problems, and I try

    22    to prevent them from needing dialysis and try to --

    23    or preempt them to get a kidney transplant.          So I

    24    use drugs like ACEs and ARBs and -- ACE inhibitors

    25    or angiotensin receptor blockers.        Or I make sure

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     1    talking about is a drug made by Amgen, but I don't

     2    use that off label at all.         That's still under

     3    investigation.        That's not even available off label.

     4                          Most of the drugs that are still

     5    under investigation are not available off label.

     6    People haven't released them for off-label use.

     7            Q.        Do you consult compendia in the course

     8    of your medical practice?

     9            A.        I have looked through it in the past,

    10    but for the most part, I do not.

    11            Q.        What are the circumstances where you

    12    have looked through it?

    13            A.        When I was on a P&T committee, I -- I

    14    would look to see what they would say, just to...

    15            Q.        And when did you sit on a P&T committee?

    16            A.        Years ago.   I haven't done it in a long

    17    time.        I was on the St. Luke's hospital P&T

    18    committee many years ago.         I can't remember exactly

    19    when.

    20            Q.        More than 20 years ago?   I'm just trying

    21    to get a benchmark.

    22            A.        Maybe.   Might have been 20.   About that

    23    long ago.

    24            Q.        And did you assist in evaluating drugs

    25    for inclusion in the formulary?

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     1    have sent over to them.       I have gotten consults from

     2    MD Anderson for kidney patients, but most of those

     3    have been ifosfamide-induced renal failure; but, no,

     4    most of the experiences I had with myeloma were

     5    during my -- my period of working with

     6    Dr. Alexanian.

     7          Q.      So since your training as a medical

     8    student, you haven't treated patients for cancer?

     9          A.      No, not really, or -- well, not

    10    say -- yeah, medical student with Marshall, and then

    11    the internship and residency was with Alexanian.

    12                       So since the end of my residency, I

    13    have not treated patients for cancer.

    14          Q.      And you've never had occasion to

    15    prescribe Thalomid or Revlimid; correct?

    16          A.      I never have.

    17          Q.      Have you ever treated a patient for

    18    kidney dysfunction or other complications who was

    19    taking Thalomid or Revlimid?

    20          A.      No, not really.     I think we're pretty

    21    careful that, you know, those drugs were avoided.

    22    The -- the studies that were done excluded renal

    23    patients.    Remember, Dr. Zeldis was pretty careful

    24    to make sure that -- he even used the term "walking

    25    dead," that the population of patients I deal with

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     1    together right now, and we're using Velcade.          I

     2    don't recall them ever using Revlimid on any of my

     3    patients.    I think it's mainly been Velcade.

     4           Q.      And do you know about Dr. Holoye?

     5           A.      I don't know.    I can ask him.

     6           Q.      I'm just asking as you sit here today.

     7                         Do you know what treatments

     8    Dr. Campos uses?

     9           A.      No.    I don't even know if Dr. Campos is

    10    retired yet.     He's a little bit older than the other

    11    two.

    12           Q.      So you haven't referred anyone to him

    13    recently?

    14           A.      Not in a long time.    Because they all

    15    worked in the same group, so I usually use the two

    16    younger doctors now.       But I trained with Dr. Campos.

    17    He was one of the doctors that I trained with years

    18    ago when I was an intern.

    19           Q.      Do you have any familiarity with the

    20    process whereby a compendium evaluates drugs for

    21    different disease states?

    22           A.      Other than what I've read in testimony

    23    in depositions, I really don't have any other

    24    process.    I don't personally know any compendia

    25    people.

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      1         Q.      You noted in your rebuttal report that

      2   you had read the deposition transcript for the

      3   witness for DRUGDEX.

      4         A.      I did.   I went through that.      I don't

      5   remember it that well, but I did go through that.

      6         Q.      Did you read any of the transcripts for

      7   the other compendia depositions?

      8         A.      Tell me the names and I'll tell you

      9   whether I did or not.

     10         Q.      Of the compendia, AHFS.

     11         A.      I can't remember.     I can't remember

     12   whether I was given that one or not.

     13         Q.      All right.    Would it be listed on -- it

     14   would be listed --

     15         A.      Yeah, I would have gone through it.

     16         Q.      -- in your report if you reviewed it?

     17         A.      Yeah, I mean, I would read that and go

     18   through it and look at it.

     19         Q.      Do you have any knowledge about what

     20   steps compendia go through to establish the

     21   qualifications of their reviewers?

     22         A.      I know it's quite -- it's really -- I

     23   know there were some problems, that they really

     24   didn't have enough staff and they were kind of

     25   behind schedule, and they didn't really get to do

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      1   things as -- as well as they should.         I know there

      2   were some safety concerns where they really didn't

      3   get to go over safety as well as they should.

      4         Q.       Who is the "they" that you're referring

      5   to?

      6         A.       I know that -- well, when I say "they,"

      7   I mean the people that put together the compendia.

      8   I mean, you know, just from -- from what I recall.

      9   I would have to go through -- if you have -- if you

     10   want to show me the depositions, I'll be happy to go

     11   through them, and it will recall what I've read, if

     12   you have the depositions.      Do you have the

     13   depositions?     I'll be happy to review them.

     14         Q.       You just said you reviewed only one

     15   deposition.

     16         A.       I only reviewed one that I can recall.

     17   If you have that one, I'll be happy to go over that

     18   with you, and if you have a list of them, it might

     19   refresh my memory.

     20         Q.       So is it fair to say your knowledge of

     21   any compendia process is limited to the deposition

     22   you might have reviewed in this case?

     23                       MR. HARPOOTLIAN:    Object to the

     24               form.

     25         A.       I -- I haven't been asked to -- in my

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      1   scope of work, to study how compendia are put

      2   together, and I haven't done a thorough review of

      3   that process.    So I -- as we sit here today, I'm not

      4   prepared to answer your question affirmatively.

      5         Q.      (BY MS. DUNNE)      In your report, page 13,

      6   paragraph 42 in your report.

      7         A.      Okay.

      8                      MR. HARPOOTLIAN:     What page?

      9                      THE WITNESS:     13, 42.

     10                      MS. DUNNE:     13.

     11         Q.      (BY MS. DUNNE)      You criticized the

     12   submission or the sharing of certain information by

     13   a Celgene employee with the AHFS compendia.

     14                      Do you see that?

     15         A.      That I know about, yes.

     16         Q.      Well, you know about what you reviewed,

     17   the document?

     18         A.      Yeah, that's what I reviewed, yes.

     19         Q.      Do you know what, if anything, AHFS did

     20   with the information that Celgene shared?

     21         A.      Do I know what?

     22         Q.      What, if anything, the AHFS compendium

     23   did with the information that Celgene shared?

     24         A.      Well, I have that figure that you

     25   probably saw, if you went through my report.           So I

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      1         A.      Well, in my opinion, the statement does.

      2   That's exactly what I was trying to do, is I was

      3   trying to show how this letter is evidence of a

      4   Celgene employee trying to influence the people of a

      5   compendia to -- to make a decision.        And --

      6         Q.      Do you have any knowledge whether it's

      7   common in the industry for manufacturers to share

      8   clinical information with compendia for

      9   consideration?

     10         A.      You can -- some people will call it

     11   sharing clinical information.       That's a very

     12   euphemistic term.     Other people will say trying to

     13   influence what the compendia is going to say.

     14         Q.      So my question is:     Do you have any

     15   understanding as to whether it's common in the

     16   industry for manufacturers to share clinical

     17   information with compendia for consideration?

     18         A.      I know that in this case, I'm just

     19   commenting on what I am seeing right now.

     20         Q.      Do you have any understanding about

     21   whether manufacturers routinely or often submit

     22   clinical information to compendia for consideration?

     23         A.      Well, I -- I think that in the -- only

     24   from the qui tams that -- that I've been involved in

     25   where it's common that some of the companies that

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      1   get sued for -- you know, for these types of things

      2   do it.

      3                      I don't know about other companies,

      4   whether they do it.     I would presume that if you

      5   have a compendia and you're trying to come up with

      6   an objective article, that you should be left alone,

      7   as a compendia author, to do your own research and

      8   shouldn't have a member of a pharmaceutical company,

      9   a large pharmaceutical company, calling you and

     10   sending letters to you.

     11         Q.      Do you have any knowledge about how

     12   compendia handle submissions by manufacturers?

     13         A.      Well, I can -- all I can comment on is

     14   what I am seeing right here.       Based on what I am

     15   seeing right here, I have this knowledge, and this

     16   is what I'm reporting to.      Whether other companies

     17   are also doing this, you know, I hope they're not,

     18   but there -- there might be.       And they might also be

     19   companies that you might know a lot about because

     20   you might be defending them.

     21                      But I would think that if this type

     22   of activity is going on, it's -- it's really messing

     23   up the objectivity of the compendia.

     24                      The compendia is supposed to be

     25   objective.    They're supposed to be looking at the

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      1   medical literature, the published medical literature

      2   that's out there, and they're supposed to be looking

      3   at the clinical trials, and they're supposed to be

      4   looking at whether or not a drug is safe and whether

      5   or not a drug is effective.       And if they're trying

      6   to do that and then somebody is calling them and

      7   saying, I don't like this or somebody doesn't like

      8   that, it's -- I mean, it's sort of like, you know,

      9   somebody's mother calling trying to get the daughter

     10   on the cheerleading squad.

     11                      And I can see that -- I don't know

     12   what other companies do, because I haven't done that

     13   many qui tams.     But I can see what this company's

     14   done, and I know that I have been asked in the last

     15   couple of weeks to be a consultant to industry.          And

     16   in the company that I'm going to be working with,

     17   this type of activity will never happen.

     18         Q.      But it's true that you have no idea how

     19   AHFS handles submissions by manufacturers; correct?

     20         A.      Well, it's obvious that, you know,

     21   they -- they accept these letters like this one.

     22   They accept them.     I don't know -- you know, and

     23   it's obvious that, you know, you're going to show me

     24   or may show me whether or not the compendia changed

     25   or not.    I'm just going to say that if the compendia

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      1   changed as a result of this letter, or if the

      2   compendia changed from before to after, then that's

      3   problematic, in my opinion, and that's where

      4   I -- that's where my limitations stop.        Because I'm

      5   not part of a compendia review committee.

      6         Q.      If you could turn to page 11, paragraph

      7   37.

      8                      Is it your opinion that a drug can

      9   only be supported in a compendium if a manufacturer

     10   is seeking FDA approval for the use?

     11         A.      I think that's the way it should be.         I

     12   think that if you have a drug -- the FDA is our

     13   friend.    The FDA is trying to show that a drug is

     14   safe and effective to protect the public.         And if

     15   you have a drug that's safe and you have a drug

     16   that's effective, why shouldn't it be approved by

     17   the FDA?    And if you can't get it approved by the

     18   FDA and you're trying to go through a back door by

     19   going through the compendia, then shame on you.

     20                      And my opinion is that if you have a

     21   drug that's safe and effective and you know that

     22   it's going to take the compendia a few years because

     23   they're backlogged -- it's going to take the FDA,

     24   rather, a few years because they're backlogged, but

     25   you know that drug is eventually going to be going

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      1   sure they can do anything they want.        But what I'm

      2   trying to say is, a drug company can do anything it

      3   wants.     A compendia obviously does things without

      4   considering sometimes.       They might say the drug is

      5   supported without really doing the research to see

      6   if it's supported.

      7                      So the answer is, yes, they can say

      8   it's supported, and they do say it's supported.

      9                      My argument with that is, just

     10   because they say "supported" -- just because they

     11   say "supported" doesn't mean that when you drill

     12   down into the medical literature that that drug is

     13   supportable.     There may not be substantive

     14   literature that supports it.

     15         Q.       And is it your opinion that a drug is

     16   not supportable if there is not an SNDA pending?

     17                      MR. HARPOOTLIAN:     Objection.   Asked

     18                and answered.

     19                      He just said that it could be.

     20         A.       You're actually going beyond that.       No,

     21   there may not be an NDA pending, but there may be a

     22   clinical trial that has been completed that is going

     23   to get the company to think, hey, we just had this

     24   beautiful clinical trial, and it's a positive study,

     25   there's acceptable benefit of this drug, there's

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      1   what we're talking about right here.

      2                      You have a lot of references in some

      3   of these -- in these compendia, and when you look

      4   down and you look at the references, they very

      5   poorly support that that drug should be used.          And

      6   yet the word "support" is in the compendia.         They

      7   say they support the drug.       They call it IIa or IIb.

      8   They say they support it.

      9                      But as Judge King says, you know, in

     10   a statement that he made, and as I am saying, what a

     11   compendia says is support.

     12                      If you look at it carefully and you

     13   do a deep dive, it's not necessarily what support

     14   is.   In other words -- and this is what lawyers do.

     15   I mean, you-all hear something on the face of it and

     16   then you do cross-examination to get where the

     17   details are.    This is what a background check is.

     18                      So what we're doing, we're asking

     19   the compendia to put stuff out there without doing a

     20   background check.     And what I did was, I did a

     21   background check on what the compendia did, and I

     22   found that the evidence was lacking.

     23                      MS. DUNNE:    Can you mark this as

     24               Exhibit 6, please.

     25                      (Fadem Exhibit 6 marked/introduced.)

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      1   they -- you know, they might pay for it.         But my

      2   argument is that if you do a deep dive, you might

      3   find that what they're saying is supported.         If you

      4   go down to the literature that's quoted and

      5   supported, it may not be supportable by the actual

      6   studies that they're sending in.

      7         Q.      So is it fair to say, essentially, that

      8   you're challenging CMS's decision to rely on

      9   compendia?

     10         A.      Am I challenging CMS's decision?        I

     11   challenge CMS frequently, and -- and we challenge

     12   their decisions constantly.       And -- and I really do

     13   challenge it.    I think it's created a great deal of

     14   problem to rely on compendia.       And so is it my

     15   opinion, yes.    It's my personal opinion.

     16                      When they talk about support,

     17   they're an insurance company, and they're going to

     18   pay what they see -- the compendia says support,

     19   they're going to pay.      They're not going to do the

     20   background check.     And what I did was did the

     21   background check.     And the background check showed

     22   that even though CMS paid or they authorized payment

     23   for these products, if you do the background check,

     24   they weren't supported.      Period.

     25         Q.      Going back to paragraph 37 that we were

                                                                          202


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      1                    REPORTER CERTIFICATION
           THE STATE OF TEXAS :
      2    COUNTY OF HARRIS :
                    I, DENYCE SANDERS, a Certified Shorthand
      3    Reporter and Notary Public in and for the State of
           Texas, do hereby certify that the facts as stated by
      4    me in the caption hereto are true; that the above and
           foregoing answers of the witness, STEPHEN Z. FADEM,
      5    M.D., to the interrogatories as indicated were made
           before me by the said witness after being first duly
      6    sworn to testify the truth, and same were reduced to
           typewriting under my direction; that the above and
      7    foregoing deposition as set forth in typewriting is a
           full, true, and correct transcript of the proceedings
      8    had at the time of taking of said deposition.
                    I further certify that I am not, in any
      9    capacity, a regular employee of the party in whose
           behalf this deposition is taken, nor in the regular
     10    employ of this attorney; and I certify that I am not
           interested in the cause, nor of kin or counsel to
     11    either of the parties.

     12             That the amount of time used by each party at
           the deposition is as follows:
     13
                      MS. DUNNE - 05:49:44
     14               MR. HARPOOTLIAN - 00:15:07

     15

     16             GIVEN UNDER MY HAND AND SEAL OF OFFICE, on
           this, the 8th day of November, 2015.
     17

     18
                           ___________________________________
     19                    DENYCE SANDERS, RDR, CRR, TCRR
                           Notary Public in and for
     20                    Harris County, T E X A S

     21

     22    My Commission Expires: 4-14-17
           Certification No.: 4038
     23    Expiration Date: 12-31-15
           U.S. LEGAL Support, Inc.
     24    363 N. Sam Houston Parkway, 12th Floor
           Houston, Texas 77060; 713.653.7100
     25    Firm No. 122

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